                             Case 25-10006-TMH                         Doc 1        Filed 01/05/25            Page 1 of 25

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                   'HODZDUH
 ____________________ District of _________________
                                        (State)
                                                            
 Case number (If known): _________________________ Chapter _____                                                                      Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           /LJDGR1HWZRUNV//&
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             1RQH
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                          
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business

                                             3DUNULGJH%RXOHYDUG
                                             ______________________________________________                 _______________________________________________
                                              Number          Street                                        Number     Street

                                              ______________________________________________                _______________________________________________
                                                                                                            P.O. Box

                                              5HVWRQ                      9$       
                                              ______________________________________________                _______________________________________________
                                              City                              State     ZIP Code          City                      State      ZIP Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                              )DLUID[
                                              ______________________________________________
                                              County                                                        _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

                                                                                                            _______________________________________________
                                                                                                            City                      State      ZIP Code




 5.   Debtor’s website (URL)                  KWWSVOLJDGRFRP
                                              ____________________________________________________________________________________________________




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        /LJDGR1HWZRUNV//&
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           
                                           ___ ___ ___ ___

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                        
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                         A plan is being filed with this petition.
                                                         Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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Debtor        /LJDGR1HWZRUNV//&
              _______________________________________________________                      Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases            No
     pending or being filed by a
     business partner or an              Yes. Debtor _____________________________________________
                                                      6HH5LGHU                                                $IILOLDWH
                                                                                                    Relationship _________________________
     affiliate of the debtor?                     District 'LVWULFWRI'HODZDUH
                                                           _____________________________________________ When               'DWH+HUHRI
                                                                                                                            __________________
     List all cases. If more than 1,                                                                                        MM /    DD    / YYYY
     attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this      Check all that apply:
     district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         No
     possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______ ________________
                                                                           City                                            State ZIP Code


                                                 Is the property insured?

                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of             Check one:
     available funds                     Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                              25,001-50,000
 14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
     creditors
                                         100-199                         10,001-25,000                            More than 100,000
     RQDFRQVROLGDWHGEDVLV
                                         200-999

 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor       /LJDGR1HWZRUNV//&
             _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
      RQDFRQVROLGDWHGEDVLV
     EDVHGRQHVWLPDWHG                   $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
     XQDXGLWHGILQDQFLDOVWDWHPHQWV       $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion
     DVRI1

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
     (on a consolidated basis,
     based on estimated                   $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
     unaudited financial statements       $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion
     as of 1/2024)



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          
                                             Executed on ______ ___________
                                                         MM / DD / YYYY


                                         8      V'RXJODV6PLWK
                                             _____________________________________________                 'RXJODV6PLWK
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   3UHVLGHQW &KLHI([HFXWLYH2IILFHU
                                             Title _________________________________________




 18. Signature of attorney
                                         8    V0DUN'&ROOLQV
                                             _____________________________________________                Date       
                                                                                                                     ________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                             0DUN'&ROOLQV
                                             _________________________________________________________________________________________________
                                             Printed name
                                             5LFKDUGV/D\WRQ )LQJHU3$
                                             _________________________________________________________________________________________________
                                             Firm name
                                             1.LQJ6WUHHW
                                             _________________________________________________________________________________________________
                                             Number        Street
                                             :LOPLQJWRQ
                                             ____________________________________________________            '(
                                                                                                             ____________ 
                                                                                                                          ______________________________
                                             City                                                            State        ZIP Code

                                               
                                             ____________________________________                            FROOLQV#UOIFRP
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                                                                             'HODZDUH
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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                                              Rider 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United
States Bankruptcy Court for the District of Delaware. The Debtors have filed a motion requesting
that the chapter 11 cases of these entities be consolidated for procedural purposes only and jointly
administered pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                                               Debtor
                          1.    Ligado Networks LLC
                          2.    ATC Technologies, LLC
                          3.    Ligado Networks (Canada) Inc.
                          4.    Ligado Networks Build LLC
                          5.    Ligado Networks Corp.
                          6.    Ligado Networks Finance LLC
                          7.    Ligado Networks Holdings (Canada) Inc.
                          8.    Ligado Networks Inc. of Virginia
                          9.    Ligado Networks Subsidiary LLC
                          10.   One Dot Six LLC
                          11.   One Dot Six TVCC LLC




#4858-7729-5239V2
                                  Case 25-10006-TMH                      Doc 1         Filed 01/05/25          Page 6 of 25
    Fill in this information to identify the case:
    Debtor name: Ligado Networks LLC, et al.

    United States Bankruptcy Court for the ________ District of Delaware
                                                                (State)
    Case number (if known): 25-                                                                                            Check if this is an amended filing


Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured
Claims and Are Not Insiders (Reported on a Consolidated Basis) 1                                                                                            12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the
30 largest unsecured claims.


    Name of creditor and complete mailing             Name, telephone number, and          Nature of       Indicate if          Amount of unsecured claim
        address, including zip code                  email address of creditor contact    the claim         claim is      If the claim is fully unsecured, fill in only
                                                                                              (for        contingent,       unsecured claim amount. If claim is
                                                                                           example,      unliquidated,   partially secured, fill in total claim amount
                                                                                         trade debts,    or disputed      and deduction for value of collateral or
                                                                                         bank loans,                         setoff to calculate unsecured claim.
                                                                                         professional
                                                                                                                          Total     Deduction          Unsecured
                                                                                           services,
                                                                                                                         claim, if for value of          claim
                                                                                              and
                                                                                                                         partially collateral or
                                                                                         government
                                                                                                                         secured      setoff 2
                                                                                           contracts)
1       Inmarsat Global Limited
        Attn: General Counsel
        Inmarsat Global Limited, C/O Viasat          Attention: General Counsel                   Contingent.
        6155 El Camino Real                          Phone: (202) 248 5150            Cooperation Unliquidated,
        Carlsbad, CA 92009                           Email: generalcounsel@viasat.com Agreement & Disputed                                             Undetermined
2       Boeing Satellite Systems Inc
        Attn: Cori H Johnson                         Attention: Cori H Johnson                          Contingent.
        PO Box 92919                                 Phone: (314) 563-6324                              Unliquidated,
        Los Angeles, CA 90009-2919                   Email: cori.h.johnson@boeing.com Trade Debt        & Disputed                                     Undetermined
3       American Towers LLC
        Attn: David Flint
        C/O American Tower Corporation 1             Attention: David Flint
        Presidential Way                             Phone:
        Attn: Contracts Manager                      Email:
        Woburn, MA 01801                             David.Flint@AmericanTower.com       Lease          Disputed                                             $ 20,116
4       US Internal Revenue Service
        Attn: Mitchell Georgic                       Attention: Mitchell Georgic                        Contingent.
        1320 Central Park Blvd, Ste 400              Phone:                                             Unliquidated,
        Fredericksburg, VA 22401                     Email: Mitchell.georgic@irs.gov     Tax            & Disputed                                            $15,000
5       Bell Mobility Inc
        Attn: Cesar Amaya
        PO Box 11095
        Station Centre Ville                         Attention: Cesar Amaya
        Montreal, QC H3C 5E7                         Phone: (613) 882-1773
        Canada                                       Email: cesar.amaya@bell.ca          Trade Debt                                                              $ 295
6
7
8
9
10
11
12
13

1
  The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims
  listed below. Moreover, nothing herein shall affect the Debtors’ right to challenge the amount or characterization of any claim at a later date.
2
  The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.

Official Form 204                  List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                          Page 1
                               Case 25-10006-TMH                Doc 1        Filed 01/05/25            Page 7 of 25
 Ligado Networks LLC, et al.                                   Case number (if known):     25-
 Name

 Name of creditor and complete mailing        Name, telephone number, and          Nature of       Indicate if          Amount of unsecured claim
     address, including zip code             email address of creditor contact    the claim         claim is      If the claim is fully unsecured, fill in only
                                                                                      (for        contingent,       unsecured claim amount. If claim is
                                                                                   example,      unliquidated,   partially secured, fill in total claim amount
                                                                                 trade debts,    or disputed      and deduction for value of collateral or
                                                                                 bank loans,                         setoff to calculate unsecured claim.
                                                                                 professional
                                                                                                                  Total     Deduction          Unsecured
                                                                                   services,
                                                                                                                 claim, if for value of          claim
                                                                                      and
                                                                                                                 partially collateral or
                                                                                 government
                                                                                                                 secured      setoff 2
                                                                                   contracts)
14
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Official Form 204              List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                      Page 2
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                                    WRITTEN CONSENT
                                           OF
                                 THE BOARD OF MANAGERS
                                           OF
                                  LIGADO NETWORKS LLC

                                           January 5, 2025

       THE UNDERSIGNED, constituting all of the members of the Board of Managers (the
“Board”) of Ligado Networks LLC, a Delaware limited liability company (the “Company”),
pursuant to Section 18-404(d) of the Delaware Limited Liability Company Act and Section 8.8 of
the Amended and Restated Operating Agreement of the Company (the “Operating Agreement”),
as amended to date, hereby consents, adopts and approves the resolutions set forth herein and each
and every action effected thereby.

        WHEREAS, the Board of the Company, has reviewed the materials presented by its
financial, legal, and other advisors and has held numerous discussions (including, without
limitation, with management and such advisors) regarding such materials and the liabilities and
liquidity situation of the Company, the strategic alternatives available to it and the impact of the
foregoing on the Company’s businesses and operations; and

       WHEREAS, such discussions included a full consideration of the strategic alternatives
available to the Company.

       WHEREAS, certain members of the Company are lenders under DIP Credit Facility (as
defined herein) and/or parties to the Restructuring Support Agreement (as defined herein), and
whereas, any managers appointed by any such members have recused themselves from the
approval of the resolutions related to the DIP Credit Facility and the Restructuring Support
Agreement, as applicable, on the basis that they are not disinterested managers.

       NOW, THEREFORE, it is hereby:

       I.      Voluntary Petition Under the Provisions of Chapter 11 of the United States
               Bankruptcy Code and Recognition Proceeding under the CCAA

        RESOLVED, that in the best judgment of the Board of the Company, it is desirable and
in the best interests of the Company, its equity holders, creditors, and other stakeholders and parties
in interest (including, without limitation, the direct and indirect subsidiaries of the Company (its
“Subsidiaries”)), that the Company file or cause to be filed both (i) a voluntary petition for relief
under the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532
(as amended, the “Bankruptcy Code”), and (ii) a corresponding foreign recognition proceeding
(the “Recognition Proceeding”) in the Ontario Superior Court of Justice (Commercial List) under
Part IV of the Companies’ Creditors Arrangement Act (Canada) (the “CCAA”), including the
appointment of the Company as the foreign representative of each of the chapter 11 debtors in
connection with the Recognition Proceeding (the “Foreign Representative”); and be it further
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        RESOLVED, that each of Douglas Smith, Eric Harrington, Vicky McPherson, and
Brendan Boughton (collectively, the “Authorized Persons”), and such other persons and/or officers
of the Company as the Authorized Persons shall from time to time designate, acting alone or with
one or more other Authorized Persons, be, and hereby are, authorized, empowered, and directed,
in the name and on behalf of the Company, to execute and verify a petition under chapter 11 of the
Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) at such time and as said Authorized Persons
executing the same shall determine, and to file all petitions, schedules, lists and other motions,
papers or documents, and to take any and all action that they deem necessary or proper to obtain
such relief, including, without limitation, any action necessary to maintain the ordinary course
operation of the Company’s business; and be it further

        RESOLVED, that the Authorized Persons be, and they hereby are, authorized and directed
to employ the law firms of Milbank LLP (“Milbank”) as general bankruptcy counsel and Richards,
Layton & Finger, P.A. (“RLF”) as local bankruptcy counsel to represent and assist the Company
and its Subsidiaries in carrying out their duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s and its Subsidiaries’ rights and obligations, including filing any
pleadings; and, in connection therewith, the Authorized Persons are hereby authorized and directed
to (i) execute appropriate retention agreements, (ii) pay appropriate retainers prior to and
immediately upon filing of the chapter 11 case, and (iii) cause to be executed and filed an
appropriate application for authority to retain the services of Milbank and RLF; and be it further

        RESOLVED, that the Authorized Persons be, and they hereby are, authorized and directed
to employ the law firm of Dentons Canada LLP (“Dentons”) (i) as general Canadian counsel to
represent and assist the Company and its Subsidiaries in carrying out their duties under the CCAA
and to take any and all actions to advance the Company’s and its Subsidiaries’ rights and
obligations, including filing any pleadings in the Recognition Proceeding, and (ii) as counsel to
represent and assist the Foreign Representative in carrying out its duties under the CCAA and to
take any and all actions to advance the Foreign Representative’s rights and obligations, including
filing any pleadings in the Recognition Proceedings; and, in connection therewith, the Authorized
Persons are hereby authorized and directed to (x) execute appropriate retention agreements, (y) pay
appropriate retainers prior to and immediately upon filing of the Recognition Proceeding, and
(z) cause to be executed and filed an appropriate application for authority to retain the services of
Dentons; and be it further

        RESOLVED, that the Authorized Persons be, and they hereby are, authorized and directed
to employ the firm of Perella Weinberg Partners LP (“PWP”) as investment banker and financial
advisor to represent and assist the Company and its Subsidiaries in carrying out their duties under
the Bankruptcy Code and to take any and all actions to advance the Company’s and its
Subsidiaries’ rights and obligations; and, in connection therewith, the Authorized Persons are
hereby authorized and directed to (i) execute appropriate retention agreements, (ii) pay appropriate
retainers prior to and immediately upon filing of the chapter 11 case, and (iii) cause to be executed
and filed an appropriate application for authority to retain the services of PWP; and be it further

       RESOLVED, that the Authorized Persons be, and they hereby are, authorized and directed
to employ the firm of FTI Consulting, Inc. (“FTI”) as financial advisor to represent and assist the



                                                  2
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Company and its Subsidiaries in carrying out their duties under the Bankruptcy Code and to take
any and all actions to advance the Company’s and its Subsidiaries’ rights and obligations; and, in
connection therewith, the Authorized Persons are hereby authorized and directed to (i) execute
appropriate retention agreements, (ii) pay appropriate retainers prior to and immediately upon
filing of the chapter 11 case, and (iii) cause to be executed and filed an appropriate application for
authority to retain the services of FTI; and be it further

        RESOLVED, that the Authorized Persons be, and they hereby are, authorized and directed
to employ the firm of Omni Agent Solutions, Inc. (“Omni”) as claims and noticing agent to
represent and assist the Company and its Subsidiaries in carrying out their duties under the
Bankruptcy Code and to take any and all actions to advance the Company’s and its Subsidiaries’
rights and obligations; and, in connection therewith, the Authorized Persons are hereby authorized
and directed to (i) execute appropriate retention agreements, (ii) pay appropriate retainers prior to
and immediately upon filing of the chapter 11 case, and (iii) cause to be executed and filed an
appropriate application for authority to retain the services of Omni; and be it further

       RESOLVED, that the Authorized Persons be, and they hereby are, authorized and directed
to employ any other professionals, including, without limitation, FTI Consulting Canada Inc. as
information officer (along with independent counsel to the information officer), as they deem
necessary or appropriate in their sole discretion to assist the Company and its Subsidiaries in
carrying out their duties under the Bankruptcy Code and the CCAA, as applicable, including,
without limitation, the (i) execution of appropriate retention agreements, (ii) payment of
appropriate retainers prior to or immediately upon the filing of the chapter 11 case and/or the
Recognition Proceeding, and (iii) filing of appropriate applications for authority to retain the
services of any other professionals as they shall in their sole discretion deem necessary or
desirable; and be it further

        RESOLVED, that each of the Authorized Persons, and such other officers of the Company
as the Authorized Persons shall from time to time designate, and any employees or agents
(including counsel) designated by or directed by any such officers, be, and each hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to cause the
Company to enter into, execute, deliver, certify, file and/or record, and perform such agreements,
instruments, motions, affidavits, applications for approvals or ruling of governmental or regulatory
authorities, certificates or other documents, and to take such other action as in the judgment of
such person shall be or become necessary, proper, and desirable to effectuate a successful
reorganization of the business of the Company or otherwise in the context of the Bankruptcy Code,
the CCAA and/or the Recognition Proceeding; and be it further

        RESOLVED, that each of the Authorized Persons, and such other officers of the Company
as the Authorized Persons shall from time to time designate, and any employees or agents
(including counsel) designated by or directed by any such Authorized Persons and/or officers, be,
and each hereby is, authorized, empowered and directed, in the name and on behalf of the
Company, to use available capital of the Company to fund all existing and future obligations of its
Subsidiaries as necessary to effectuate a successful reorganization of the business of its
Subsidiaries.




                                                  3
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       II.     Debtor-in-Possession Financing

         RESOLVED that each of the Authorized Persons, and such other officers of the Company
as the Authorized Persons shall from time to time designate, be, and each hereby is, authorized
and empowered to enter into that certain Senior Secured Super-Priority Debtor-in-Possession Loan
Agreement dated January 5, 2025 (as amended, restated, amended and restated, supplemented, or
otherwise modified from time to time, the “DIP Credit Facility”) by and among the Lenders (as
defined in the DIP Credit Facility) from time to time party thereto, the Company, and any other
guarantors from time to time party thereto and other parties thereto from time to time, and any
related documents or instruments, each on terms and conditions agreed to by the Company, the
lender, and the agent and such other terms as are customary for similar debtor-in-possession
facilities and to cause the Company to grant a senior security interest in substantially all of its
assets in connection therewith, and to undertake any and all related transactions contemplated
thereby; and be it further

        RESOLVED, that in order to use and obtain the benefits of DIP Credit Facility, and in
accordance with section 361, 363, and 364 of the Bankruptcy Code, the Company be, and hereby
is, authorized and empowered to grant certain liens and claims, and provide certain adequate
protection to the Lenders as documented in the DIP Credit Facility; and be it further

        RESOLVED that each Authorized Person be, and hereby is, authorized, empowered, and
directed, in the name and on behalf of the Company, to cause to be prepared, to negotiate, execute,
and deliver, and the Company hereby is authorized to perform its obligations and take the actions,
including, without limitation, to pay all fees and expenses, contemplated under, the DIP Credit
Facility and such other documents, agreements, guaranties, instruments, financing statements,
notices, undertakings, certificates, and other writings as may be required by, contemplated by, or
in furtherance of the DIP Credit Facility, each containing such provisions, terms, conditions,
covenants, warranties, and representations as may be deemed necessary or appropriate by the
Authorized Persons, and any amendments, restatements, amendments and restatements,
supplements, or other modifications thereto, in each case with such changes therein and additions
thereto (substantial or otherwise) as shall be deemed necessary, appropriate, or advisable by any
Authorized Person executing the same in the name and on behalf of the Company, such approval
to be evidenced conclusively by such execution; and be it further

        RESOLVED, that the Company be, and hereby is, authorized and empowered to grant
security interests in, and to pledge its right, title, and interest in, the properties and assets to the
Collateral Agent (as defined in the DIP Credit Facility), for the ratable benefit of the respective
and applicable Secured Parties (as defined in the DIP Credit Facility), as more fully described in
the DIP Credit Facility (the “Collateral”); and be it further

        RESOLVED, that the Company be, and hereby is, authorized to enter into one or more
general security agreements, patent security agreements, trademark security agreements, copyright
security agreements, account control agreements, pledges, mortgages, and/or similar or related
agreements and instruments (collectively, the “Security Agreements”) to pledge the Collateral as
security for the DIP Credit Facility, that the Security Agreements, the entry thereinto and the
transactions thereunder and the performance thereof be, and hereby is, authorized, that the form,
terms and provisions of the Security Agreements are, authorized, approved and ratified, and that


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any Authorized Persons be, and each of them hereby is, authorized and directed, for and in the
name and on behalf of the Company, to negotiate, finalize, execute and deliver in a manner
consistent with these resolutions, to the appropriate parties, the Security Agreements, with any
such amendments, supplements or modifications thereto, if any, as such Authorized Persons, in
their discretion, determines to be necessary or desirable, the execution of such agreement by any
Authorized Persons to be conclusive evidence of the authorization and approval by such
Authorized Persons; and be it further

         RESOLVED, that the Collateral Agent (as defined in the DIP Credit Facility) is authorized
to file or record financing statements and other filing or recording documents or instruments with
respect to the Collateral without the signature of the Company in such form and in such offices as
the Collateral Agent (as defined in the DIP Credit Facility) determines appropriate to perfect the
security interests of the Secured Parties (as defined in the DIP Credit Facility) granted under the
DIP Credit Facility. The Agent is authorized to use the collateral description “all assets” or “all
or substantially all personal property assets” or any similar description in any such financing
statements; and be it further

        RESOLVED that the Company, as debtor and debtor in possession under the Bankruptcy
Code, be, and hereby is, authorized, empowered, and directed to negotiate and obtain the use of
cash collateral or other similar arrangements, including, without limitation, to enter into any
guarantees and to pledge and grant liens on and claims against the Company’s assets as may be
contemplated by or required under the terms of cash collateral agreements or other similar
arrangements, in such amounts as is reasonably necessary for the continuing conduct of the affairs
of the Company in the chapter 11 case and any of the Company’s affiliates who may also,
concurrently with the Company’s petition, file for relief under the Bankruptcy Code; and be it
further

        RESOLVED that the Company will receive substantial direct and indirect benefits from
the loans and other financial accommodations to be made under the DIP Credit Facility to the
Company and its affiliates and in connection with any agreements entered into by the Company
with respect to the use of cash collateral and all of the transactions contemplated in the DIP Credit
Facility and the Loan Documents (as defined in the DIP Credit Facility) (including the payment of
fees and expenses contemplated therein) are hereby approved; and be it further

       III.    Restructuring Support Agreement

        RESOLVED, that in the best judgment of the Board of the Company, it is desirable and
in the best interests of the Company, its shareholders, creditors, and other stakeholders and parties
in interest, that the Company enter into that certain restructuring support agreement (together, with
all exhibits, attachments, and schedules thereto, as may be amended, restated, amended and
restated, supplemented, or otherwise modified from time to time, the “Restructuring Support
Agreement”) by and among the Company, certain of its affiliates, the Consenting Stakeholders (as
defined in the Restructuring Support Agreement), and certain additional parties substantially in the
form presented to the Board, and that the Company’s performance of its obligations under the
Restructuring Support Agreement and all other exhibits, schedules, attachments, and ancillary
documents related thereto, hereby is, in all respects, authorized and approved; and be it further



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       IV.     Commercial Transaction Term Sheet

        RESOLVED, that in the best judgment of the Board of the Company, it is desirable and
in the best interests of the Company, its shareholders, creditors, and other stakeholders and parties
in interest, that the Company enter into that certain commercial transaction term sheet (the
“Commercial Transaction Term Sheet”) attached to the Restructuring Support Agreement as an
exhibit thereto by and among the Company, certain of its affiliates, and AST & Science, LLC
substantially in the form presented to the Board, and that the Company’s performance of its
obligations under the Commercial Transaction Term Sheet, including the negotiation and
execution of any definitive documentation in connection therewith, and all other exhibits,
schedules, attachments, and ancillary documents related thereto, hereby is, in all respects,
authorized and approved; and be it further

       V.      Further Actions and Prior Actions

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Persons, each of the officers of the Company or their designees shall be, and each of
them, acting alone, hereby is, authorized, directed and empowered, in the name of, and on behalf
of, the Company, to take or cause to be taken any and all such further actions, including, without
limiting the generality of the foregoing resolutions, to execute, amend , modify, waive, deliver and
file, as appropriate, all agreements, acknowledgements, confirmations, instruments and other
documents, and to pay all expenses, including filing fees, in each case as in such Authorized
Persons shall determine in his or their sole discretion to be necessary or desirable to fully carry out
the intent and accomplish the purposes of the foregoing resolutions adopted herein, to otherwise
implement and effectuate the transactions contemplated by the DIP Credit Facility, or to fully
accomplish any and all actions taken in connection with the chapter 11 filing and/or Recognition
Proceeding contemplated thereby; and be it further

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing resolutions except that such acts were taken before these
resolutions were certified, are hereby in all respects approved, confirmed, and ratified.

       The actions taken by this written consent shall have the same force and effect as if taken at
a meeting of the Board, duly called and constituted, pursuant to the Operating Agreement, and the
applicable laws of the state of Delaware.

        This consent may be executed in as many counterparts as may be required; all counterparts
shall collectively constitute one and the same consent.


                                [SIGNATURE PAGE FOLLOWS]




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         [Signature Page to Ligado Networks LLC’s Unanimous Written Consent re Bankruptcy Petition@
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                       )
    In re:                                                             )     Chapter 11
                                                                       )
    LIGADO NETWORKS LLC, et al.,1                                      )     Case No. 25-______ (___)
                                                                       )
                              Debtors.                                 )     (Joint Administration Requested)
                                                                       )

                        CONSOLIDATED CORPORATE OWNERSHIP
                   STATEMENT AND LIST OF EQUITY SECURITY HOLDERS

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the above-captioned debtors and debtors in possession (each, a “Debtor” and collectively, the

“Debtors”) hereby state as follows:

             1.     A list of the equity interest holders of Debtor Ligado Networks LLC, along with

the nature of their equity interests, is attached hereto as Exhibit A.

             2.     The following are corporations, other than a government unit, that directly or

indirectly own 10% or more of any class of Ligado Networks LLC’s equity interest2:

                                                   Approximate Percentage of Equity Held
       Equity Holder           Common                             Preferred Equity
                                Equity             A-0        A-1         A-2         B                            C
       HGW US
       HOLDING                   42.51%          0.00%           30.63%           0.00%          0.00%          0.59%
     COMPANY LP
          LSQ
    ACQUISITION CO               26.20%          0.00%            0.00%           14.20%         52.41%         0.25%
     LLC (SERIES I)



1
      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, as
      applicable, are: Ligado Networks LLC (3801); ATC Technologies, LLC (N/A); Ligado Networks (Canada) Inc.
      (N/A); Ligado Networks Build LLC (N/A); Ligado Networks Corp. (N/A); Ligado Networks Finance LLC (N/A);
      Ligado Networks Holdings (Canada) Inc. (N/A); Ligado Networks Inc. of Virginia (9725); Ligado Networks
      Subsidiary LLC (N/A); One Dot Six LLC (8763); and One Dot Six TVCC LLC (N/A). The Debtors’ headquarters
      is located at: 10802 Parkridge Boulevard, Reston, Virginia 20191.
2
      Information provided as of November 18, 2024.
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                                 Approximate Percentage of Equity Held
 Equity Holder     Common                       Preferred Equity
                    Equity       A-0        A-1         A-2         B             C
  GREAT ELM
                   21.25%       0.00%       0.00%         0.00%     0.00%       0.00%
  GROUP INC
  CERBERUS
   LIGADO           8.10%      32.46%       0.31%         27.29%   16.18%       0.25%
 HOLDINGS LLC
      LSQ
ACQUISITION CO      0.00%      33.00%       0.00%         0.00%     0.00%       0.00%
 LLC SERIES IV
  PORTMAN
                    0.00%       2.68%       0.00%         0.00%     0.00%       28.54%
   LIMITED
   CREDIT
  MARKETS           0.00%       0.84%       53.56%        14.20%   31.42%       25.68%
HOLDINGS LLC
 CENTAURUS
                    0.00%       0.79%       0.00%         28.41%    0.00%       0.00%
 CAPITAL LP
      LSQ
ACQUISITION CO      0.00%       0.00%       0.31%         12.92%    0.00%       0.00%
 LLC SERIES III
  CF LSQ C
                    0.00%       0.00%       0.00%         0.00%     0.00%       43.10%
HOLDINGS LLC

    3.    The following Debtors are 100% owned by Debtor Ligado Networks LLC:

                                    Debtor
                     ATC Technologies, LLC
                     Ligado Networks Build LLC
                     Ligado Networks Corp.
                     Ligado Networks Finance LLC
                     Ligado Networks Holdings (Canada) Inc.
                     Ligado Networks Inc. of Virginia
                     Ligado Networks Subsidiary LLC
                     One Dot Six LLC

    4.    The following Debtor is 20% owned by Debtor Ligado Networks LLC:

                                    Debtor
                     Ligado Networks (Canada) Inc.

                                        2
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       5.        The following Debtor is 80% owned by Debtor Ligado Networks Holdings

(Canada) Inc.:

                                           Debtor
                            Ligado Networks (Canada) Inc.

       6.        The following Debtor is 100% owned by Debtor One Dot Six LLC:

                                           Debtor
                            One Dot Six TVCC LLC




                                               3
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                                                       EXHIBIT A

                              List of Ligado Network LLC’s Equity Interest Holders3


                                                                        Approximate Percentage of Equity Held
 Equity Holder             Last Known Address
                                                              Common                        Preferred Equity
                                                               Equity          A-0        A-1     A-2       B                 C
                      c/o Harbinger Capital Partners
   HGW US
                                  LLC
  HOLDING                                                      42.51%        0.00%      30.63%       0.00%       0.00%       0.59%
                       450 Park Avenue, 30th Floor
 COMPANY LP
                          New York, NY 10022
                       c/o Fortress Credit Advisors
      LSQ
                                   LLC
ACQUISITION CO                                                 26.20%        0.00%       0.00%      14.20% 52.41%            0.25%
                      1345 Avenue of the Americas
 LLC (SERIES I)
                          New York, NY 10105

  GREAT ELM             800 South Street, Suite 230
                                                               21.25%        0.00%       0.00%       0.00%       0.00%       0.00%
  GROUP INC               Waltham, MA 02453

 CERBERUS                   875 Third Avenue
  LIGADO                       10th Floor                       8.10%       32.46%       0.31%      27.29% 16.18%            0.25%
HOLDINGS LLC               New York, NY 10022
   LIGHTY             c/o Melody Capital Partners 60
 SETTLEMENT              Arch Street, Second Floor              1.94%        0.00%       4.10%       0.00%       0.00%       0.00%
     LLC                  Greenwich, CT 06830
                       c/o Fortress Credit Advisors
      LSQ
                                   LLC
ACQUISITION CO                                                  0.00%       33.00%       0.00%       0.00%       0.00%       0.00%
                      1345 Avenue of the Americas
 LLC SERIES IV
                          New York, NY 10105
                          Omega Operating, LLC
OMEGA CAPITAL             c/o Leon G. Cooperman
                                                                0.00%        5.90%       0.00%       0.00%       0.00%       0.00%
 PARTNERS LP             7118 Melrose Castle Lane
                           Boca Raton, FL 33496
                       c/o Rubric Master Fund Ltd.
RUBRIC CAPITAL
                       767 Third Avenue, 6th Floor              0.00%        4.49%       1.78%       0.00%       0.00%       0.00%
   LGD LLC
                          New York, NY 10017




      3
          This list serves as the disclosure required to be made by the Debtors pursuant to Rule 1007 of the Federal Rules
          of Bankruptcy Procedure. Information provided as of November 18, 2024.
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                                                           Approximate Percentage of Equity Held
 Equity Holder       Last Known Address
                                                  Common                  Preferred Equity
                                                   Equity      A-0      A-1     A-2       B          C
  WAYZATA         One Carlson Parkway, Suite
OPPORTUNITIES                220                   0.00%      2.76%    0.00%    0.00%   0.00%      0.00%
  FUND III LP       Plymouth, MN 55447
                       Al Bahr Towers
                   Sheikh Zayed Bin Sultan
  PORTMAN                   Street
                                                   0.00%      2.68%    0.00%    0.00%   0.00%      28.54%
   LIMITED             P.O. Box 61999
                   Abu Dhabi, United Arab
                          Emirates

LIGADO BR FI           c/o BlackRock
   CREDIT              55 East 52nd St             0.00%      2.60%    0.06%    2.41%   0.00%      0.00%
HOLDINGS LLC         New York, NY 10055


  MSD CREDIT
                 645 Fifth Avenue, 21st Floor
 OPPORTUNITY                                       0.00%      2.19%    0.00%    0.00%   0.00%      0.00%
                    New York, NY 10022
   FUND LP

    MELODY
    SPECIAL
                 4 Greenwich Office Park, First
  SITUATIONS
                            Floor                  0.00%      1.64%    0.00%    0.00%   0.00%      0.00%
   OFFSHORE
                     Greenwich, CT 06831
 CREDIT MINI-
MASTER FUND LP
    OCM
                  333 South Grand Ave, 28th
TECHNOLOGY
                            Floor                  0.00%      1.61%    0.00%    0.00%   0.00%      0.00%
HOLDINGS CTB
                   Los Angeles, CA 90071
    LLC
   BR-HIYLD            c/o BlackRock
 SUBSIDIARY II         55 East 52nd St             0.00%      1.18%    0.00%    0.00%   0.00%      0.00%
     LLC             New York, NY 10055
THE LEON AND
                    Omega Operating, LLC
    TOBY
                    c/o Leon G. Cooperman
 COOPERMAN                                         0.00%      1.15%    0.00%    0.00%   0.00%      0.00%
                   7118 Melrose Castle Lane
   FAMILY
                     Boca Raton, FL 33496
 FOUNDATION




                                                  2
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                                                           Approximate Percentage of Equity Held
 Equity Holder       Last Known Address
                                                  Common                  Preferred Equity
                                                   Equity      A-0      A-1     A-2       B         C
                 500 Stanton Christiana Road
   CREDIT
                      Newark, DE 19713
  MARKETS                                          0.00%      0.84%    53.56% 14.20% 31.42% 25.68%
                 Attn: Sean M. Chudzik, Mail
HOLDINGS LLC
                       Code: DE3-4128
                     c/o Greywolf Capital
     GWC
                       Management LP
 INVESTMENT
                    4 Manhattanville Road,         0.00%      0.81%    0.00%    0.00%   0.00%      0.00%
HOLDINGS LLC
                          Suite 201
   SERIES 1
                     Purchase, NY 10577
                 1717 West Loop South – Suite
  CENTAURUS
                            1950                   0.00%      0.79%    0.00%   28.41%   0.00%      0.00%
  CAPITAL LP
                      Houston, TX 77027
   LIGADO              c/o BlackRock
 BLACKROCK             55 East 52nd St             0.00%      0.63%    0.00%    0.00%   0.00%      0.00%
HOLDINGS LLC         New York, NY 10055
   MELODY
   CAPITAL
                 4 Greenwich Office Park, First
  PARTNERS
                            Floor                  0.00%      0.56%    0.00%    0.00%   0.00%      0.00%
  OFFSHORE
                     Greenwich, CT 06831
 CREDIT MINI-
MASTER FUND LP
   MELODY
   CAPITAL       4 Greenwich Office Park, First
  PARTNERS                  Floor                  0.00%      0.50%    0.00%    0.00%   0.00%      0.00%
   ONSHORE           Greenwich, CT 06831
CREDIT FUND LP
 LONG FOCUS       207 Calle del Parque, A&M
   CAPITAL              Tower 8th Fl.              0.00%      0.48%    0.00%    0.00%   0.00%      0.00%
 MASTER LTD          San Juan, PR 00912
  CLEARLINE
                    c/o Clearline Capital LP
   CAPITAL
                    950 3rd Ave, 23rd Floor        0.00%      0.47%    0.83%    0.00%   0.00%      0.00%
  PARTNERS
                     New York, NY 10022
MASTER FUND LP
                      c/o Rubric Capital
                       Management LP
FMAP RCM LLC                                       0.00%      0.47%    0.18%    0.00%   0.00%      0.00%
                      155 E. 44th Street
                     New York, NY 10017


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                                                          Approximate Percentage of Equity Held
 Equity Holder      Last Known Address
                                                 Common                  Preferred Equity
                                                  Equity      A-0      A-1     A-2       B         C
                 c/o Rubric Master Fund Ltd.
BEMAP RCM LLC    767 Third Avenue, 6th Floor      0.00%      0.45%    0.20%    0.00%   0.00%      0.00%
                    New York, NY 10017
                   Omega Operating, LLC
   LEON G          c/o Leon G. Cooperman
                                                  0.00%      0.32%    0.00%    0.00%   0.00%      0.00%
 COOPERMAN        7118 Melrose Castle Lane
                    Boca Raton, FL 33496
 TENNENBAUM           c/o BlackRock, Inc.
    SPECIAL      Office of the General Counsel
                                                  0.00%      0.22%    0.00%    0.00%   0.00%      0.00%
  SITUATIONS          40 East 52nd Street
  FUND IX LLC        New York, NY 10022
                    c/o Long Focus Capital
                       Management LLC
CONDAGUA LLC      207 Calle del Parque, A&M       0.00%      0.17%    0.00%    0.00%   0.00%      0.00%
                         Tower 8th Fl
                      San Juan, PR 00912
                      c/o BlackRock
HYT SUBSIDIARY
                      55 East 52nd St             0.00%      0.16%    0.00%    0.00%   0.00%      0.00%
     LLC
                    New York, NY 10055
  WAYZATA
                  One Carlson Parkway, Suite
OPPORTUNITIES
                             220                  0.00%      0.15%    0.00%    0.00%   0.00%      0.00%
FUND OFFSHORE
                    Plymouth, MN 55447
    III LP
                 2200 Fletcher Ave – STE 501
   JDS1 LLC                                       0.00%      0.14%    0.00%    0.00%   0.00%      0.00%
                     Fort Lee, NJ 07024
SHAY CAPITAL     280 Park Avenue, 5th Fl West
                                                  0.00%      0.14%    0.00%    0.00%   0.00%      0.00%
    LLC             New York, NY 10017
                      c/o BlackRock
  COASTLINE
                      55 East 52nd St             0.00%      0.13%    0.00%    0.00%   0.00%      0.00%
   FUND LP
                    New York, NY 10055
                   6470 East Johns Crossing
CCUR HOLDINGS
                          Suite 490               0.00%      0.12%    0.00%    0.00%   0.00%      0.00%
     INC
                      Duluth, GA 30097
 LIGADO FAIR
                      c/o BlackRock
    LANE
                      55 East 52nd St             0.00%      0.11%    0.00%    0.00%   0.00%      0.00%
 INVESTMENT
                    New York, NY 10055
PARTNERS LLC

                                                 4
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                                                           Approximate Percentage of Equity Held
  Equity Holder      Last Known Address
                                                  Common                  Preferred Equity
                                                   Equity      A-0      A-1     A-2       B         C
                       c/o BlackRock
BLUE PENINSULA
                       55 East 52nd St             0.00%      0.10%    0.00%    0.00%   0.00%      0.00%
   FUND LP
                     New York, NY 10055
 CORBIN ERISA        590 Madison Avenue
 OPPORTUNITY              31st Floor               0.00%      0.10%    0.00%    0.00%   0.00%      0.00%
   FUND LTD          New York, NY 10022
    CORBIN           590 Madison Avenue
 OPPORTUNITY              31st Floor               0.00%      0.10%    0.00%    0.00%   0.00%      0.00%
   FUND LP           New York, NY 10022
   TEACHERS
INSURANCE AND
                      730 Third Avenue
    ANNUITY                                        0.00%      0.10%    0.00%    0.00%   0.00%      0.00%
                     New York, NY 10017
ASSOCIATION OF
   AMERICA
 TENNENBAUM            c/o BlackRock, Inc.
  ENHANCED        Office of the General Counsel
                                                   0.00%      0.08%    0.00%    0.00%   0.00%      0.00%
    YIELD              40 East 52nd Street
OPERATING I LLC       New York, NY 10022
  WARANA SP
 MASTER FUND        c/o Warana Capital, LLC
   SPC 2021          55 5th Ave, Suite 1808        0.00%      0.07%    0.00%    0.00%   0.00%      0.00%
  SEGRATED            New York, NY 10003
  PORTFOLIO
   KOYOTE           800 Third Ave – 10th FL
                                                   0.00%      0.05%    0.00%    0.00%   0.00%      0.00%
 TRADING LLC         New York, NY 10022
 PRUDENTIAL
INVESTMENTS             c/o BlackRock
   LLC/AST             55 East 52nd St             0.00%      0.02%    0.00%    0.00%   0.00%      0.00%
 INVESTMENT          New York, NY 10055
SERVICES INCT
                       c/o BlackRock, Inc.
 TENNENBAUM
                  Office of the General Counsel
OPPORTUNITIES                                      0.00%      0.02%    0.00%    0.00%   0.00%      0.00%
                       40 East 52nd Street
  FUND VI LLC
                      New York, NY 10022




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                                                            Approximate Percentage of Equity Held
 Equity Holder       Last Known Address
                                                   Common                  Preferred Equity
                                                    Equity      A-0      A-1     A-2       B         C
 WARANA SP
MASTER FUND         c/o Warana Capital, LLC
  SPC 2018           55 5th Ave, Suite 1808         0.00%      0.02%    0.00%    0.00%   0.00%      0.00%
SEGREGATED            New York, NY 10003
 PORTFOLIO
  PHASE FIVE        800 Third Ave – 10th FL
                                                    0.00%      0.01%    0.00%    0.00%   0.00%      0.00%
 PARTNERS LP         New York, NY 10022
 WARANA SP
MASTER FUND         c/o Warana Capital, LLC
  SPC 2019           55 5th Ave, Suite 1808         0.00%      0.01%    0.00%    0.00%   0.00%      0.00%
SEGREGATED            New York, NY 10003
 PORTFOLIO

  MSD FNBC        645 Fifth Avenue, 21st Floor
                                                    0.00%      0.00%    6.84%    0.00%   0.00%      0.00%
INVESTORS LLC        New York, NY 10022

  KASOWITZ
                       1633 Broadway
BENSON TORRES                                       0.00%      0.00%    0.52%    0.00%   0.00%      0.00%
                     New York, NY 10019
     LLP
                  c/o Scoggin Management LP
   SCOGGIN
                   660 Madison Avenue, 20th
INTERNATIONAL                                       0.00%      0.00%    0.40%    0.00%   0.00%      0.00%
                             Floor
   FUND LTD
                      New York, NY 10065
                   c/o Fortress Credit Advisors
      LSQ
                               LLC
ACQUISITION CO                                      0.00%      0.00%    0.31%   12.92%   0.00%      0.00%
                  1345 Avenue of the Americas
 LLC SERIES III
                      New York, NY 10105
                         PO Box 6385
 JAIMIN PATEL                                       0.00%      0.00%    0.12%    0.00%   0.00%      0.00%
                      San Juan, PR 00914
                  c/o Scoggin Management LP
  SCOGGIN
                   660 Madison Avenue, 20th
 WORLDWIDE                                          0.00%      0.00%    0.10%    0.00%   0.00%      0.00%
                             Floor
  FUND LTD
                      New York, NY 10065

 WARBASSE67         595 Madison Ave, FL 30
                                                    0.00%      0.00%    0.07%    0.00%   0.00%      0.00%
    LLC              New York, NY 10022




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                                                            Approximate Percentage of Equity Held
 Equity Holder        Last Known Address
                                                   Common                  Preferred Equity
                                                    Equity      A-0      A-1     A-2       B          C
                     c/o Centaurus Capital LP
                   1717 West Loop South – Suite
 KEITH HOLST                                        0.00%      0.00%    0.00%    0.45%   0.00%      0.00%
                              1950
                        Houston, TX 77027
SUCCESS REAL
                        769 Kneese Road
   ESTATE                                           0.00%      0.00%    0.00%    0.11%   0.00%      0.00%
                    Fredericksburg, TX 75624
COMPANY LTD
                    c/o Fortress Credit Advisors
  CF LSQ C                      LLC
                                                    0.00%      0.00%    0.00%    0.00%   0.00%      43.10%
HOLDINGS LLC       1345 Avenue of the Americas
                       New York, NY 10105
                    c/o Fortress Credit Advisors
      LSQ
                                LLC
ACQUISITION CO                                      0.00%      0.00%    0.00%    0.00%   0.00%      1.41%
                   1345 Avenue of the Americas
 LLC (SERIES II)
                       New York, NY 10105
                   101 Hudson Street 11th Floor
 JEFFERIES LLC                                      0.00%      0.00%    0.00%    0.00%   0.00%      0.18%
                      Jersey City, NJ 07302




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 Fill in this information to identify the case and this filing:


               /LJDGR1HWZRUNV//&
 Debtor Name __________________________________________________________________

                                                                            'HODZDUH
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________
                                                      &RQVROLGDWHG&RUSRUDWH2ZQHUVKLS6WDWHPHQWDQG/LVWRI(TXLW\+ROGHUV




        I declare under penalty of perjury that the foregoing is true and correct.


                    
        Executed on ______________                         8 V'RXJODV6PLWK
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                               'RXJODV6PLWK
                                                               ________________________________________________________________________
                                                                Printed name

                                                                ______________________________________
                                                                3UHVLGHQW &KLHI([HFXWLYH2IILFHU
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
